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 Attorney for Plaintiff
 Eve Nevada, LLC

                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


      Eve Nevada, LLC.                     )   Case No.: 1:20-cv-475-DKW-KJM
                                           )   (Copyright)
                     Plaintiff,            )
        vs.                                )   MEMORANDUM IN SUPPORT OF
                                           )   MOTION
                                           )
      DIETRICH RILEY, et al.               )
                                           )
                     Defendants.           )
                                           )
                                           )
                                           )

                   MEMORANDUM IN SUPPORT OF MOTION

 I.       BRIEF FACTUAL HISTORY

          After Defendant Corey Evans (“Defendant”) failed to answer or respond,

 Plaintiff was granted default judgment against Defendant on Defendant on July 12,

 2021 [Doc. #45]. Despite Plaintiff providing notice on Defendant of Default
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 Judgment, Defendant still has not responded in any way. See Decl. of Counsel at

 ¶¶3-5, 11. Plaintiff sought to enforce judgment through the remedies available to

 them per FRCP 69. However, since Defendant did not answer or participate,

 Plaintiff has no information other than Defendant’s name, Verizon phone number,

 and Verizon IP address used to infringe on Plaintiff’s copyrights. See Id. at ¶12. As

 such, Plaintiff served a Rule 45 subpoena on Defendant’s Internet Service Provider

 Verizon for documents relating to Defendant’s financial information on October

 29, 2021. See Id. at ¶8. Verizon refused to produce the requested documents

 without a court order pursuant to California Public Utilities Code Section 2891.

 See Id. at ¶9. Accordingly, Plaintiff now files this motion for a court order

 authorizing Verizon to disclose Defendant’s personal financial information.

 II.   LEGAL STANDARD
       FRCP 69(a)(2) states that “In aid of the judgment or execution, the judgment

 creditor or a successor in interest whose interest appears of record may obtain

 discovery from any person….” FRCP 34(a) states that “A party may serve on any

 other party a request within the scope of Rule 26(b)”. FRCP 26(b) states that

 “Parties may obtain discovery regarding any nonprivileged matter that is relevant

 to any party’s claim or defense and proportional to the needs of the case,

 considering the importance of the issues at stake in the action, the amount in

 controversy, the parties’ relative access to relevant information, the parties’
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 resources, the importance of the discovery in resolving the issues, and whether the

 burden or expense of the proposed discovery outweighs its likely benefit.”

        California Public Utilities Code Section 2891(a) states that “No telephone or

 telegraph corporation shall make available to any other person or corporation,

 without first obtaining the residential subscriber’s consent, in writing, any of the

 following information: (2) The residential subscriber’s credit or other personal

 financial information.” California Public Utilities Code Section 2894 states that a

 service provider under this section may disclose information in “good faith

 compliance with the terms of a state or federal warrant or order….” FRCP

 37(a)(3)(iv) allows a party to move the Court for an order compelling production if

 “a party fails to produce documents or fails to respond that inspection will be

 permitted…”.

 III.   ARGUMENT
        California Public Utilities Code Section 2894 allows a service provider such

 as Verizon to disclose a California resident subscriber’s identifying information

 without the subscriber’s written consent pursuant to a Court order. See Kaur v. City

 of Lodi, No. 2: 14-cv-0828 TLN AC, 2016 U.S. Dist. LEXIS 10348, at *4 (E.D.

 Cal. Jan. 27, 2016) (“Section 2891(a) also does not appear to apply to subpoenas

 for cell phone records, but even if it did apply, it does not authorize AT&T

 Mobility to withhold documents in the face of a federal court order compelling
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 their production.”) (citing Cal. Pub. Util. § 2894(a); McArdle v. AT & T Mobility

 LLC, 2010 WL 1532334 at *6, 2010 U.S. Dist. LEXIS 47099 at *15-16 (N.D. Cal.

 2010) ("section 2894 of the utilities code provides an exception to this rule for

 court orders")).

       Plaintiff seeks to ascertain Defendant’s financial information in order to

 satisfy the judgment for infringing Plaintiff’s Work. Plaintiff respectfully asserts

 that the requested information from Verizon is squarely within the standards of

 FRCP 69(a)(2) and FRCP 26(b) for obtaining discovery. First, the requested

 information is not privileged and is highly relevant to Plaintiff’s claims and

 judgment on Defendant. Indeed, as stated above, Plaintiff has no other method of

 obtaining any of Defendant’s financial information (or any other information for

 that matter) since Defendant has not appeared or participated in this case.

 Moreover, because Verizon is Plaintiff’s only option to obtain this information,

 Plaintiff also asserts that the requested information is proportional to the needs of

 obtaining judgment in this case as well as the parties’ relative access to relevant

 information. See NLRB v. Cable Car Advertisers, Inc., 319 F. Supp. 2d 991, 1001

 (N.D. Cal. 2004) (finding customer identification information to be relevant to

 plaintiff’s “attempt to enforce the judgment”).

       Second, the information requested is important to the issues at stake, the

 amount in controversy, and the ability to resolve the issues. Indeed, obtaining
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 Defendant’s financial information is the only way to resolve the case and collect

 the amount in controversy.

       Third, the burden or expense of the proposed discovery does not outweigh

 its likely benefit. Indeed, Verizon only cited to section 2891(a) in its objection to

 the subpoena, and did not claim privilege, burden, or expense related objections.

 Thus, Verizon’s burden or expense does not outweigh the benefit of obtaining

 rightful judgment. Additionally, because Defendant has not appeared, there is no

 burden or expense of any sort on Defendant for the requested information.

       Lastly, this Court has already granted a similar motion for subscriber

 identification information from Verizon over 47 U.S. Code § 551 (the Cable Act)

 in its Order Granting Early Discovery [Doc. #8]. The Cable Act has a near

 identical provision prohibiting a cable operator from disclosing a subscriber’s

 personally identifiable information without the prior written or electronic consent

 of the subscriber, unless such disclosure is pursuant to a court order. 47 U.S. Code

 § 551(c)(2)(B).

       Since Plaintiff’s requested information is wholly within the standards of

 FRCP 69(a)(2) and 26(b), Plaintiff respectfully moves this Court for an order

 authorizing disclosure of Defendant’s financial information by Verizon over any

 Section 2891 objections.
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       DATED: Kailua-Kona, Hawaii, December 14, 2021.

                              CULPEPPER IP, LLLC

                                  /s/ Joshua Lee
                                 Joshua Lee
                                 Attorney for Plaintiff




                     CERTIFICATE OF COMPLIANCE
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       I am counsel for the moving party in the above motion and certify that I

 attempted to confer with Defendant Corey Evans on November 29, 2021

 concerning the disputed issue of Plaintiff’s Motion for Court Order Authorizing

 Subscriber Disclosure in a good faith effort to limit the disputed issues and, if

 possible, eliminate the necessity for Plaintiff’s motion as required by L.R. 37.1(a).

 Defendant has not appeared in this case and has not responded to Plaintiff’s

 counsel.

       DATED: Kailua-Kona, Hawaii, December 14, 2021.


                                  CULPEPPER IP, LLLC

                                  /s/ Joshua Lee
                                  Joshua Lee

                                  Attorney for Plaintiff
                                  Eve Nevada, LLC
